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                       IN THE UNITED STATES DISTRICT COURT                          FILED
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Norfolk Division
                                                                                  OCT 2 0 2020

JOSHUA LEE GILSON,                                                          CLERK, U.S. DISTRICT COURT
                                                                                   NORFOLK, VA

                      Petitioner,
V.                                                                   Criminal No. 2:18-cr-4


UNITED STATES OF AMERICA,

                      Respondent.


                          MEMORANDUM OPINION AND ORDER


       Before the Court is Joshua Gilson's ("Petitioner") pro se Motion to Vacate, Set Aside or

Correct a Sentence, pursuant to 28 U.S.C. § 2255 ("§ 2255 Motion"). ECF No. 33. The

Government opposed the Motion and Petitioner replied. ECF Nos. 46, 48. Having reviewed the

motion and filings, this Court finds that a hearing is not necessary to address Petitioner's motion.

See 28 U.S.C. § 2255(c). For the reasons set forth below. Petitioner's § 2255 Motion is

DISMISSED.


       The Court finds that Petitioner's Motion is moot because Petitioner's sentence regarding

the offense in Petitioner's § 2255 Motion was reduced to time served on September 30,2020. ECF

No. 54. Petitioner was released from BOP custody on October 8, 2020.

       The Court also DIRECTS the Clerk to send a copy of this Order to Petitioner and to the

United States Attorney.

       IT IS SO ORDERED.



Norfolk, Virginia                                             Raymond ArliaeKSon
October ^2/ , 2020                                            United States District Judge
